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EXHIBIT 1

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M-ARCUS A. MANCINI, ESQ. (Statl: Bar No.l46905)
VADIM Y'EREMENKO, ESQ. (Statc Bar No. 269804)

IMRAN RAHMAN, EsQ.(scate Bar No. 308143)
PAMELA A. TRIPLETT, EsQ. (sm¢ Bar No. 310232) _ _
MANCINI & AssoCIATEs 1 --
A Profcssional Law Corporation Eu arter Co'w‘\ B'A%B‘g::‘:'"a
§§303 wsm Bouwvaad, suite 600 °"“W ° "°5 9
181 s 183-5757 Phon¢ . .
(8`18; 783-7710 Fax SBi-;am R. Carler.`E;z\£Je Olflce::::¢
Anomeys for Plaincifr LAKIMYA JoHNsoN °’ ““'a'“
summon CoURT oF THE sTATE oF cAuFoRNIA
Fon THE couNTY oF Los ANGELES
LAI<lMYA JOHNSON, case No. BC 7 0 4 7 1 3
Plainritr, PLAINTIFF's coMPLAINT Fon
nAMAGEs=
VS.
(1) Fon PERcElvED AND/on
~- PHYschL nlsABlerY
HARASSMENT,
GATE couRMET, INc.; mscmMmA'rloN AND
and DOES l through 100, lnclusivc, RETALIATION IN VIOLATION
o_F cALIFoRNIA

MMM_QI)_E §§1194°
ET sEQ. [FEHA|;

(2) Fon HARASSMENT,
nlscRIMlNATloN AND
RETALIATloN m vloLATloN
oF cALIFoRNIA
MMQD_E
§§12945.2 ET sEQ. [cFRA];

(3) FOR PERCEIVED AND/OR
RACE HARASSMENT,
DISCRIMINATION AND
RETALIATION IN VIOLATION
OF CALIFORNIA

ngEMMLNT gggg §12940
E'r sF.Q. [FEHA];

(4) FoR RETALIA'HON AND
wRoNGFuL TERMINATloN
m vloLATIoN oF PuBLlc
PoLlcY;

Dcfendants.

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PLAINTIFF’S COMPLAINT FOR DAMAGES

 

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Cas\e 2:18-cV-O5281-VAP-AFI\/| Document 1-1 Filed 06/14/18 Page 4 of 35 Page |D #:13

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l ) (5) FOR DECLARATORY RELIEF
' |Permanent ln]unction
2 g Requested].
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) MFLIL|_“W___M_ILED

4 § M[lTE J DICTION:

5 ) CASE VALUI_B IN EX§_ESS OF.

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9 COMES NOW PlaintiffLAlClMYA JOHNSON (hereinaher referred to as “JOHNSON"
10 or "PIaintifI`") and complains against the above-named Defendants and for causes of action against
ll the Defendants, and each of them, alleges as follows:
12 l.
13 FI&$T CAU§L QF QIIQN_
l4 (For Perceived andlor Physical Disablllty
15 Harassment, Dlscrimination and Retaliation in Employment '
16 [Calil'ornla government Qp_de 512940 et seq.]
17 Against All Del'endants and DOES 1 Through 100, Inclusive)
18 l. At all times mentioned herein, Plaintiffwas, and now is, an individual
19 residing in the County of Los Angeles, State of California.
20 2. Plaintitf is informed and believes, and thereon alleges, that at all times relevant
21 herein, Defendant GATE GOURMET, l'NC. (hereinafter referred to collectively with all other
22 Defendants as "Defendants"} were, and now are, valid businesses of form unknown duly organized
23 and existing under the laws of the State of Califomia, having its principal place of business in the

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County ofLos Angeles, State of California.

3. Plaintiff is ignorant of the true names and eapacities, whether corporate, associate,

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26 successor, alter ego, individual or otherwise, of Defendants sued herein as DOES l - 100,
27 lnclusive, and therefore sues said Defendants, and each of them, by such fictitious names. Plaintiff

28 will seek leave of court to amend this Complaint to assert the true names and capacities of the

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PLAINT[FF’S'COMPLAINT FOR DAMAGES

 

 

 

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1 ftctitiously named Defendants when the same have been ascertained. Plaintiff is informed and
believes, and thereon alleges, that each Defendant designated as "DOES" herein is legally
responsible for the events, happenings, acts, occurrences, indebtedness, damages and liabilities

hereinaher alleged and caused injuries and damages proximately thereby to the plaintiff, as

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5 hereinafter alleged.

6 4. Plaintift‘ is informed and believes, and thereon alleges, that at all times relevant
7 llherein',_ each Defendant designated, including DOES 1-100, herein was the agent, managing agent,
8 llprincipal, owner, partner, joint venturer, joint employer, special employer, client employer, labor
9

contractor, alter ego, representative, supervisor, manager, servant, employee and/or co-conspirator

 

10 lof each of the other Defendants, and was at all times mentioned herein acting within the course and
1 l scope of said agency and employment, and that all acts or omissions alleged herein were duly

12 committed with the ratification, knowledge, permission, encouragement, authorization and consent
13 of each Defendant designated herein.

14 5. At all times herein mentioned, until Plaintiff"s wrongful termination on or about

15 September 29, 2016, Plaintifi` was employed as a Food Assembler by Defendants and DOES l

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through 100, Inclusive, and each of them, who were also, at all times herein mentioned, Plaintifi`s

 

employers, managers and supervisors
18 6. Plaintiff is of the perceived and/or African-American race and, prior to her wrongfull
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termination, had the perceived and/or physical disability(s) of right ankle injuries, associated

 

conditions and others.

 

21 7. On or about September 5, 2016, and continuing, Plaintiff developed and!or
22 ilaggravated andlor sustained perceived and/or physical disability(s) including, but not limited to,

23 right‘ankle injuries, associated conditions and others, from work aetivity(s).

co
f 24 8. Plaintif‘f placed Defendants, and each of them, on notice of Plaintifi”s disability(s)
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",`,`_" 25 9. Plaintiff made andfor articulated a Worlter's Compensation claim(s).

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2 26 10. Plaintit`i` requested and/or was entitled to and/or was granted CFRA andfor other
on

27 innedic'al andlor other negotiated leave in order to recupcrate and heal, for approximately three

28 weeks

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PLAINTIFF’S COMPLAINT FOR DAMAGES

 

 

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ll. Plaintiff notified her Managers and Supervisors about her injury(s), but never heard
l back from them and sought medical assistance on her own. Plaintiff's physician(s) placed Plaintit‘f
off work for three (3) weeks.

12. After approximately three (3) weeks, Plaintiff retumed to work without restrictions,
but atier two (2) days, her ankle was still in considerable pain. Plaintiff notified her Supervisor
again, saw her physician, who again placed Plaintitf off work, now for one (1) week.

13. On or about September 24 and 25, 2016, Plaintiffworked.

14. On or about September 26, 2016, Plaintifi` was suspended “for taking too many days

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loff while on probation."

10 l$. On or about September 29, 2016, Defendants, and each of them, retaliated against
11 and wrongfully terminated Plaintitf for the false andlor exaggerated andlor pretextual reason(s) that
12 Plaintiff was a “no call. no show" and “had taken too many days."

13 16. Plaintiff is informed and believes, and thereon alleges, that Def`endants, and each of
14
15

them, replaced Plaintiff with and/or kept and/or treated more favorably a non-disabled individual

 

and/or a non-A&ican-American individual.

 

16 17. At all times hereinalle'ged, Plaintiff was a qualified disabled worker with one or
` 17 nriiore perceived andlor physical disability(s), who could perform the essential duties of Plaintit‘i’s
18 job with or without an accommodation, and without causing harm to Plaintiff and/or Plaintift’s

19 fellow employees, and who was entitled to preferential reassignment

 

 

20 18. From September 2016, and continuing at least through September 29, 2016, and
21 continuing, Defendants and DOES l through 100, and each of them, discriminated, harassed, and
22 retaliated against Plaintiff on the basis of Plaintiff"s perceived and/or physical disability(s)l by the
m 23 following continuous actions, and conduct, among others:
§ 24 a. Failing to determine the extent of Plaintiff' s disability(s) and how they could be
:-: 25 accommodated;
§ 26 b. Failing to take any affirmative steps to inform Plaintiff of any job opportunities
27 within the company;
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PLAlN‘I'IFF‘S COMPLAINT FOR DAMAGES

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1 c. Failing to consider Plaintiff for and move Plaintiff into openings for which Plaintiff
2 was qualified and could handle subject to Plaintitl"s disability(s);
3 d. Failing to engage in a timely, good faith, interactive process with Plaintiff to
4 _ determine effective reasonable accommodations;
5 e. Denying Plaintiff medical assistance;
6 f Suspending Plaintiff;
7 g. On or about September 29, 2016, retaliating against and wrongfully terminating
8 Plaintiff for the false an_d/or exaggerated andlor pretextual reason(s) that Plaintiii'
9 was a “no call, no show" and “had taken too many days;”
10 h Plaintiff is informed and believes, and thereon alleges, that Defendants, and each of
11 them, replaced Plaintiff with and/or kept andlor treated more favorably a non-
12 disabled individual and/or a non-African-Amcrican individual;
13 1, Harassing, discriminating and retaliating against Plaintiti`on the basis of Plaintiff‘s
14 perceived andfor disability(s), as hereinalleged;
15 j l-larassing, discriminating and retaliating against Plaintiff on the basis of Plaintiff
16 requesting andlor taking and/or being entitled to CFR.A andlor other lawful medical
17 leavel as hereinalleged;
18 le Harassing, discriminating and retaliating against Plaintiff on the basis of perceived
19 and/or race, African-American, as hereinaileged;
20 1. Failing to rehire andlor reemploy Plaintiff.
21 19. The acts and conduct of Defendants, and each of them, as aforesaid, was in
22 violation of Califomia Governm'en't § ode §12940 et seq. Said statutes impose certain duties upon
m 23 Defendants, and each of them, concerning harassrnent, discrimination and retaliation against
§ 24 persons, such as Plaintiff, on the basis of perceived and/or physical disability and the prohibition of
§ 25 perceived and/or physical disability harassment, discrimination and retaliation. Said statutes were
2 26 intended to prevent the type of injury and damage herein set forth. Plaintiff was, at all times
m 27 material hereto, an employee with a perceived and/or physical disability(s), and within the
28 protected class covered by Califomia § g'v§rnment QQc_l- g §12940, prohibiting perceived and/or
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PLA]NTIFF'S COMPLAINT FOR DAMAGES

 

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lphys`ical disability harassman discrimination and retaliation in employment
20. By the acts and conduct described above, Defendants, and each of them, in violation
of said statutes knew about, or should have known about, and failed to investigate and/or properly

investigate, prevent or remedy the perceived and/or physical disability harassment, retaliation and

 

discrimination 'Ihe acts of discrimination, retaliation and harassment described herein were
sufficiently pervasive so as to alter the conditions of employment and created an abusive working
environment When Plaintiffwas harassed, discriminated against and retaliated against, Plaintiff's '

perceived and!or physical disability(s) andfor complaints about the unlawful conduct were a

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substantial factor motivating and/or motivating reasons in Defendants' conduct

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21. Plaintiff filed timely charges and complaints of perceived and/or physical disability

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harassment, retaliation and discrimination with the Califomia Department of Fair Employment and

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l-lousing and has received Notice(s) of Right to Sue in a California Superior Court pursuant to

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Califomia '§' overnm'ggt 'Qr-gde §12965(b). Plaintiff has therefore exhausted Plaintiff's

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administrative remedies under the Califomia _Govemmg_nt Code. At‘tached hereto and incorporated

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herein as Exhibit “A" are said Complaints and by reference hereto are made a part hereof.

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Attaciied hereto and incorporated herein as Exhibit “B" are said Right to Sue Notices and by

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reference hereto are made a part hereof.

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22. By the aforesaid acts and conduct of Def`endants, and each of them, Plaintifi' has

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been directly and legally caused to suffer actual damages pursuant to California § ivil Code_ §3333

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including, but not limited to, loss of earnings and future earning capacity, medical and related

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expenses for care and procedures both now and in the future, attorneys fees, and other pecuniary

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loss not presently ascertained, for which Plaintiff will seek leave of court to amend when

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23. As a direct and legal result of the acts and omissions of Defendants, and each of

them, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and

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extemally, and suffered, among other things, numerous internal injuries, severe fri ght, shock, pain,

 

 

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discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff,

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who will pray leave of court to insert the same when they are ascertained Plaintiff does not at this

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PLAINTIFF’S COMPLAINT FOR DAMAGES

 

 

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time know the exact duration or permanence of said injuries, but is informed and believcs, and
thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.
24. As a further legal result of the acts and omissions of thc Defendants, and each of
them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs
during the period of Plaintifi`s disability, and is informed and believes, and thereon alleges, that
she will in the future be forced to incur additional expenses of the same nature, all in an amount
which is at present unknown. Plaintiff will pray leave of court to show the exact amount of said

expenses at the time of trial.

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25. Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but

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since said incidents has been unable to engage fully in Plaintifl’s occupation, and is informed and

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believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintist

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usual work for an indefinite period of time in the future, all to Plaintit’f’s damage in an amount

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which is at present unascertained. Plaintiff will pray leave of court to show the total amount of

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loss of earnings at the time of trial.

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26. As a further direct and legal result of the acts and conduct of Defendants, as

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aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent

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emotional and mental distress and anguish, humiliation, embarrassment fright, shock, pain,

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discomfort and anxiety. The exact nature and extent of said injuries is presently unknown to

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plaintifl`, who will pray leave of court to assert the same when they are ascertained

20 27. Plaintiff has been generally damaged in an amount within the jurisdictional limits of

21 ' this court

22 28. The aforementioned acts of Defendants, and each of them, were wilful, wanton.
co 23 malicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
§ 24 of the rights, welfare and safety of plaintifl`, and were done by managerial agents and employees of
§ 25 Defendants and DOES l through 100, and with the express knowledge, consent, and ratification of
§ 26 managerial agents and employees of Defendants and DOES l through 100, thereby justifying the

27 awarding of punitive and exemplary damages in an amount to be determined at the time of tria].

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PLAINTIFF’S COMPLA]NT FOR DAMAGES

 

 

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l 29. As a result of the discriminatory acts of Defendants, and each of them, as alleged
herein, Plaintiff is entitled to reasonable attorneys' fees and costs of said suit as specifically
provided in California Q~ overnment Qg_d_g § 12965(b).
II.
SE N AU E F ACTION

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6 (For Vlolation of the Family Rights Act

7 rcarrrornra oovemmenr `cfoa¢ § 12945.21
8 Against All Defendants and DOES l Through 100, lncltrsive)
9 30. Plaintiff incorporates herein by reference Paragraphs l through 29 as though set
10 forth in full herein.

ll 3 l. Plaintiff was an employee of Defendants who qualified for leave due to physical
12 randfor mental disability(s) pursuant to Califomia Govemmegt Code §12945.2 et seq.

13 32. At all times herein mentioned, Defendants were “Employer[s]" within the

14 definition of Govemment Coge §l2945.2, in that Defendants regularly employed 50 or more

 

15 people and/or adhered and/or abided by CFRA and/or gave their employees equal or greater leave
16 protection than CFRA.

17 33. From September 2016, and continuing at least through September 29, 2016, and
18 continuingl Defendants and DOES l through 100, and each of them, denied and retaliated against
19 Plaintiff for being entitled to and/or requesting andfor taking Plaintiff's Family Rights and Family

20 C`are and Medical Leave, by the following actions, among others:

 

 

21 a. Defendants, and each of them, harassed, discriminated against and retaliated against

22 PlaintiE`, as hereinalleged, in the terms and conditions of Plaintifi’s employment;
m 23 b. Defendants and each of them, retaliated against Plaintiff because of Plaintifl‘s
§ 24 entitlement and/or request and/or taking of the right to medical leave in violation of
§ 25 Govemment die §12945.2 et seq. by, amongst others, failing to return Plaintiff to
3 26 work and/or terminating Plaintiff
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PLAI.NTIFF'S COMPLAINT FOR DAMAGES

 

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34. By the acts and conduct described above, Defendants, and each of thcm, in violation
rof said statutes, knew about, or should have known about, and failed to investigate and/or properly
investigate, prevent or remedy the retaliation and discrimination in violation of the Family Rights
Act. The acts of discrimination described herein were sufficiently pervasive so as to alter the
conditions of employment, and created an abusive working environment Plaintiff’s request and/or
_t_ak_ipg and/or right to take, Family Mcdical Leave, andlor Plaintifi’s complaints about the unlawful ‘
conduct were motivating reasons in Defendants' conduct

35. Plaintiff filed timely charges and complaints of retaliation, harassment and

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udi`scr"imination in violation of the Family Rights Act with the Califomia Departmcnt of Fair

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Etr'r_`ployrnel'it and Housing pursuant to Califomia Govemme'n`t Code §12965(b), permitting Plaintiff :

 

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t`o'bring this legal action. Attached hereto and incorporated herein as Exhibit "A" are said

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Complaints and by reference hereto are made a part hereof. Attached hereto and incorporated

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herein as Exhibit "B" are said Right to Sue Notices and by reference hereto are made a part hereof. .

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36. By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has

been directly and legally caused to suffer actual damages pursuant to Caiifomia eivil_Code.§3333

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including, but not limited to, loss of earnings and future earning capacity, medical and related

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expenses for care and procedures both now and in the future, attorneys fees, and other pecuniary

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loss not presently ascertained, for which Plaintiff will seek leave of court to amend when

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ascertained

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37. As a direct and legal result of the acts and omissions of Defendants, and each of

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them, Plaintiff was rendered sick1 sore, lame, disabled and disordered, both internally and

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extema|ly, and suifered, among other things, numerous internal injuries, severe fright, shock, pain,

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discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiffl

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who will pray leave of court to insert the same when they are ascertained. Plaintiff does not at this

time know the exact duration or permanence of said injuries, but is informed and believes, and

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thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.
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PLAINTIFF’S COMPLAINT FOR DAMAGES

 

 

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38. As a further legal result of the acts and omissions of the Defendants, and each of
them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs
during the period of Plaintiff's disability, and is informed and believes, and thereon alleges, that
she will in the future be forced to incur additional expenses of the same nature, all in an amount
which is at present unknown. Plaintiff will pray leave of court to show the exact amount of said
expenses at the time of trial.

39. Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but

 

since said incidents has been unable to engage fully in Plaintiff‘s occupation, and is informed and

 

believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiff’s
usual work for an indefinite period of time in the future, all to Plaintist damage in an amount
which is at present unascertained. Plaintiff will pray leave of court to show the total amount of
loss of earnings at the time of trial.

40. As a further direct and legal result of the acts and conduct ofDefendants, as

aforesaid; Plaintiff has been caused, and did sut'fer, and continues to suffer severe and permanent

 

 

emoiipli_al and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,
discomfort-and anxiety. The exact nature and extent of said injuries is presently unknown to
plaintiff,_. who will pray leave of court to assert the same when they are ascertained

41. Plaintiff has been generally damaged in an amount within the jurisdictional limits of

 

this court.

42. The aforementioned acts of Defendants, and each of them, were wilful, wanton,
malicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
of the rights, welfare and safety of plaintifl`, and were done by managerial agents and employees of
Defendants and DOES l through 100, and with the express knowledge, consent, and ratification of
managerial agents and employees of Defendants and DOES l through 100, thereby justifying the
awarding of punitive and exemplary damages in an amount to be determined at the time of trial.

43. As a result of the discriminatory acts ofDefendants, and each of them, as alleged
herein, Plaintiff is entitled to reasonable anomeys‘ fees and costs of said suit as specifically

provided in Califomia ngemment Code § 12965(b).

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PLAINTIFF’S COMPLAINT FOR DAMAGES

 

 

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lII.
THIRD CAUSE OF ACTION

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(For Perceived and/or Race Harassment, Discriminatlon and Retaliation in Employment

lCalifornia 'vaernment §ode §12940 et seq.]
Against All Defendants and DOES l Through 100, Incluslve)
44. Plaintiff incorporates by reference paragraphs l through 43 of this complaint as

 

though fully set forth at this place.

45. Plaintiff is of the perceived and!or African-American race and, prior to her wrongful

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tenhinati_on, had the perceived and/or physical disability(s) of right ankle injuries, associated

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conditions and others.

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46. On or about September S, 2016, and continuing, Plaintiff developed and/or

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aggravated and/or sustained perceived andlor physical disability(s) including, but not limited to,

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right'ankle injuries, associated conditions and others, from work activity(s).

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41. Plaintiff placed Defendants, and each of them, on notice of Plaintiff’s disability(s).

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48. Plaintiff made andlor articulated a Worker‘s Compensation claim(s).

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49. Plaintiff requested and/or was entitled to and/or was granted CFRA and/or other

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medical and!or other negotiated leave in order to reeuperate and heal, for approximately three

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weeks.

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50. Plaintiff notified her Managers and Supervisors about her injury(s), but never heard

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back from them and sought medical assistance on her own. Plaintiff`s physician(s) placed Plaintiff

off work for three (3) weeks.

 

 

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51. After approximately three (3) weeks, Plaintiti` returned to work without restrictions,

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but` after two (2) days, her ankle was still in considerable pain. Plaintiff notified her Supervisor

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again, saw her physician, who again placed Plaintiff off work, now for one (1) week.

52. On or about September 24 and 25, 2016, Plaintiff worked.

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53. On or about September 26, 2016, Plaintiff was suspended “for taking too many days

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off while on probation."

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PLAINTIFF’S COMPLAINT FOR DAMAGES

 

 

 

 

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54. On or about September 29, 2016, Defendants, and each of them, retaliated against
liand wrongfully terminated Plaintiff for the false andfor exaggerated and/or pretextual reason(s) that
Plaintiff was a “no call, no show" and “had taken too many days."

55. Plaintiff is informed and believes, and thereon alleges, that Defendants, and each of

them, replaced Plaintiff with and/or kept and/or treated more favorably a non-disabled individual

 

and/or a non-African-American individual.

56. At all times hereinalleged, Plaintiff was a qualified disabled worker with one or
nr`nore perceived andfor physical disability(s), who could perform the essential duties of Plaintiffs
job with or without an accommodation, and without causing harm to Plaintiff and/or Plaintiff`s
fellow employees, and who was entitled to preferential reassignment

57. Frorn September 2016, and continuing at least through September 29, 2016, and

 

continuing Defendants and DOES l through 100, and each ofthem, discriminated harasscd, and
retaliated against Plaintiff on the basis of Plaintist perceived and/or race, Ali'ican-American, by
the following continuous actions, and conduct, among others:

a. Denying Plaintiff medical assistance;

b. Suspending Plaintiff;

c. On or about September 29, 2016, retaliating against and wrongfully terminating
Plaintiff for the false and/or_exaggerated and/or pretextual reason(s) that Plaintiff
was a “no cail, no show" and “had taken too many days;"

d. Plaintiff is informed and believes, and thereon alleges, that Defendants, and each of
them, replaced Plaintiff with and/or kept and/or treated more favorably a non-
disabled individual and!or a non-African-Arnerican individual;

e. Harassing, discriminating and retaliating against Plaintiff on the basis of Plaintiff‘s
perceived and/or disability(s), as hereinalleged;

f. Harassing. discriminating and retaliating against Plaintiff on the basis of Plaintiff
requesting and/or taking and!or being entitled to CFRA and/or other lawful medical

leave, as hereinalleged;

 

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12
PLAINTIFF’S COMPLAINT FOR DAMAGES

 

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Harassing, discriminating and retaliating against Plaintiff on the basis of perceived

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and/or race, African-American, as hereinalleged;
h. Fai ling to rehire and/or reemploy Plaintiff.

58. The acts and conduct of Defendants, and each of them, as aforesaid, was in

 

violation of Califomia § . gvemmeg't §;-_o_ge §12940 et seq. Said statutes impose certain duties upon
Defendants, and each of them, concerning harassment, discrimination and retaliation against
personsi such as Plaintiff, on the basis of perceived and!or race and the prohibition of perceived

and/or race harassment, discrimination and retaliation. Said statutes were intended to prevent the

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type of injury and damage herein set forth. Plaintiffwas, at all times material hereto, an employee

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perceived to be and/or of the A|i'ican-American racel and within the protected class covered by

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Califomia Govemment Qgge §12940, prohibiting perceived andfor race harassment, discrimination

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and retaliation in employment.

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$9. By the acts and conduct described above, Defendants, and each of them, in violation

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of said statutcs, knew about, or should have known about, and failed to investigate and/or properly '

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investigatel prevent or remedy the perceived and/or race harassment, retaliation and discrimination

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The acts of discrimination, retaliation and harassment described herein were sufficiently severe

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andlor pervasive so as to alter the conditions of employment, and created an abusive working

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cnvironment. When Plaintiff was harassed, discriminated against and retaliated against, Plaintifi’s

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perceived and/or race and/or complaints about the unlawti.rl conduct was a substantial factor

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motivating Defendants’ conduet, and/or a motivating reason in Defendants' conduct.

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60. Plaintiff filed timely charges and complaints of perceived and/or race harassment,

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retaliation and discrimination with the Califomia Department of Fair Employment and Housing

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and has received Notice(s) of Right to Sue in a Califomia Superior Court pursuant to Califomia

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Gove`rnmgiit nge §12965(b). Plaintiff has therefore exhausted Plaintiff's administrative remedies
under the California Government nge. Attached hereto and incorporated herein as Exhibit “A"

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are said Complaints and by reference hereto are made a part hereof. Attached hereto and

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incorporated herein as Exhibit “B" are said Right to Sue Notices and by reference hereto are made

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a part hereof.

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PLAI'NTIFF’S COMPLAINT FOR DAM.AGES

 

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l 61. By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has

i been directly and legally caused to suffer actual damages pursuant to Califomia Q'- ivil Code §3333
l including, but not limited tol loss of earnings and future earning capacity, medical and related
! expenses for care and procedures both now and in the future, attorneys fees, and other pecuniary
i loss not presently ascertained, for which Plaintiff will seek leave of court to amend when
l ascem.\ined.

62. As a direct and legal result of the acts and omissions of Defendants, and each of

 

them, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and

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externally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,

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discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff,

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who will pray leave of court to insert the same when they are ascertained. Plaintiff does not at this

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time know the exact duration or permanence of said injuries, but is informed and believes, and

 

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thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.

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63. As a further legal result of the acts and omissions of the Defendants, and each of

them, Plaintiff has been forced to incur expenses for medical car_e, X-rays, and laboratory costs

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during the period of Plaintitf's disabilityl and is informed and believes, and thereon alleges that

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she will in the future he forced to incur additional expenses of the same nature, ali in an amount

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which is at present unknown. Plaintiff will pray leave of court to show the exact amount of said

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expenses at the time of trial.
- 20 64. Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
i 2l since said incidents has been unable to engage fully in Plaintiff’s occupation, and is informed and

22 believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiff’s

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usual work for an indefinite period of time in the iiiture, all to Plaintiff's damage in an amount

24 which is at present unascertained. Plaintiff will pray leave of court to show the total amount of

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loss of earnings at the time of trial.

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65. As a further direct and legal result of the acts and conduct of Defendants, as

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5 27 aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent

| 28 emotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,

14
PLAINTIFF’S COMPLA]`NT FOR DAMAGES

 

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discomfort and anxiety. The exact nature and extent of said injuries is presently tmknown to

plaintiff, who will pray leave of court to assert the same when they are ascertained.

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66. Plaintiff has been generally damaged in an amount within the jurisdictional limits of
this court.

67. The aforementioned acts of Defendants, and each of them, were wiliirl, wanton,
malicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
of the rights, welfare and safety of plaintiff. and were done by managerial agents and employees of

Defendants and DOES 1 through 100, and with the express knowledge, consent, and ratification of

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managerial agents and employees of Defendants and DOES l through 100, thereby justifying the

awarding of punitive and exemplary damages irr an amount to be determined at the time of trial.

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68. As a result of the discriminatory acts of Defendants, and each of them, as alleged

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herein, Plaintiff is entitled to reasonable attomeys' fees and costs of said suit as specifically
iprovided in California gigvernrnent'Cg'de` § 12965(b).
IV.
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(For Retaliation and Wrongful Termination in Violation of Public Policy

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Against Defendants and DOES l -100, Incluaive)

18 69. Flaintiff incorporates herein by reference Paragraphs 1 through 68 as though set
19 forth in full herein.

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l 20 70. At all times herein mentioned, the public policy of the State of Califomia, as

 

521 codihed, expressed and mandated in Califomia Govemmcnt die §12940 was to prohibit

‘.22 employers from discriminating, harassing, and retaliating against any individual based on

m 23 perceived and/or physical disability(s). This public policy of the State of Califomia is designed to
24 protect all employees and to promote the welfare and well-being of the community at large.

25 According_ly, the actions of Defendants, and each of them, in discriminating retaliating and

26 terminating Plaintiff on the grounds of stated above, or for complaining about such discrimination,

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2? retaliation and harassment, was wrongful and in contravention and violation of the express public

28 policy of the State of Califomia, to wit, the policy set forth in California @MEMQ §12940

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PLAINTIFF'S COMPLAINT FOR DAMAGES

 

 

 

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et seq., and the laws and regulations promulgated thereunder.

71. At all times herein mentioned, the public policy of the State of Califotnia, as
codilied, expressed and mandated in Califomia § g'vemmgnt dig § 12945.2 was to prohibit
employers from discriminating and retaliating against any individual based on their taking,
requesting or needing Family Medical Leave. This public policy of the State of Califomia is
designed to protect all employees and to promote the welfare and well-being of the community at
large, Accordingly, the actions of Defendantsl and each of them, in discriminating, retaliating and

terminating Plaintiff on the grounds ot` stated above, or for complaining about such discrimination

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grand retaliation, was wrongful and in contravention and violation of the express public policy of the

State of Califomia, to wit, the policy set forth in California Gg'v'emmegt §§ rig §12945.2 et seq.,

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and the laws and regulations promulgated thereunder.

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72. At all times herein mentioned, the public policy of the State of Califomia, as
13 rcodiiied, expressed and mandated in Califomia ngemment §ggle_ §l2940 was to prohibit

 

l 14 employers from discriminating harassing, and retaliating against any individual based on

 

15 perceived andlor race. This public policy of the State of Calit`omia is designed to protect all

16 employees and to promote the welfare and well-being of the community at large. Accordingly, the
17 actibiis of Defendants, and each of them, in discriminating retaliating and terminating Plaintiff on
18 the grounds of stated above, or for complaining about such discrimination, retaliation and

19 harassment`, was wrongful and in contravention and violation of the express public policy of the
20 S'iate of California, to wit, the policy set forth in Califomia vaernment Q'ode §12940 et seq., and
21 rtlre laws and regulations promulgated thereunder.

22 73. By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has

i 23 lbeen directly and legally caused to suffer actual damages pursth to Califomia givil § _Qg' e §3333

24 including, but not limited to, loss of earnings and future earning capacity, medical and related
25 expenses for care and procedures both now and in the future, attorneys fees, and other pecuniary

26 loss not presently ascertained, for which Plaintiff will seek leave of court to amend when

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27 lascertained.
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PLAINTIFF‘S COMPLAINT FOR DAMAGES

 

 

 

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74. As a direct and legal result of the acts and omissions of Defendants, and each of
them,_ Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and
extemally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff,
who will pray leave of court to insert the same when they are ascertained Plaintiff does not at this
time know the exact duration or permanence of said injuries, but is informed and believes, and
thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.

75. As a further legal result of the acts and omissions of the Defendants, and each of

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them,_ Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs

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during the period of Plaintist disability, and is informed and believes, and thereon alleges, that

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she will in the future be forced to incur additional expenses of thc same nature, all in an amount

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which is at present unlmown. Plaintiff will pray leave of court to show the exact amount of said

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expenses at the time of trial.

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76. Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but

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since said incidents has been unable to engage fully in Plaintift’s occupation, and is informed and

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believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintifi"s

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u_s_ual work for an indefinite period of time in the future, all to Plaintift’s damage in an amount

 

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which is at present unascertained. Plaintiff will pray leave of court to show the total amount of

loss of earnings at the time of trial.

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77. As a iirrther direct and legal result of the acts and conduct of Defendants, as

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aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent

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emotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,

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discomfort and anxiety. The exact nature and extent of said injuries is presently unlmown to

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plaintiff who will pray leave of court to assert the same when they are ascertained

78. Plaintiff has been generally damaged in an amount within the jurisdictional limits of

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this court.
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PLAINTIFF'S COMPLAINT FOR DAMAGES

 

 

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79. The aforementioned acts of Defendants, and each of them, were wilful, wanton,
malicious, intentiona|, oppressive and despicable and were done in wilful and conscious disregard
of the rights, welfare and safety of plaintiff, and were done by managerial agents and employees of
Defendants and DOES 1 through 100, and with the express knowledge, consent, and ratification of
managerial agents and employees of Defendants and DOES l through 100, thereby justifying the
awarding of punitive and exemplary damages in an amount to be determined at the time of trial.

80. As a result of the discriminatory acts of Defendants, and each of them, as alleged
herein, Plaintiff is entitled to reasonable attomeys’ fees and costs of said suit as specifically
provided in California Code gf-Qiyil Pmcedgrg §1021.$.

V.
FIFTH CAUSE OF AQT!QN
(For Declaratory Rellef Agalnst All Defendants and DOES l -100, Incluslve)

81. Plaintiff incorporates herein by reference Paragraphs 1 through 80 as though set
forth in full herein.

82. Depcnding on the outcome of this lawsuit via dispositive motion and ruling andlor a
trial and verdict in this matter, Plaintiff hereby requests this Court issue an affirmative and binding
Declaration of Rights and Duties pursuant to the recent ruling in Harrr‘.r v. Cr‘ty ofSan!a Mom`ca,
(2013) 56 C.4th 203, declaring that Defendants, and each of them, their successots, agents,
representatives, employees and all persons who acted alone, or in concert with said Defendants,
and each of them, admitted acts and conduct of harassment, discrimination, retaliation, or other
similar acts including, but not limited to, the violations alleged in all of the relevant Causes of
Action herein, and as proved and/or shown at the time of the ruling(s) and or verdict(s), and as
|prohibited by the Fair Employment and Housing Act, California Govemment Qg'de §§12900 -
12996, and any other applicable laws, cascs, codes, regulations and statutcs.

83. At the time of the request for Declaratory Relief, there exists andlor will exist a
l present and actual controversy among the parties.

84. This Complaint, and the relevant causes of action herein, specifically plead an

uactual, present controversy, and the facts of the respective and underlying claims.

18
PLAINTIFF’S COMPLAINT FOR DAMAGES

 

 

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85. At the time of the request for Declaratory Relief, the facts of this case will haven

rcongealed to the point that the Court can determine issues and grant relief through Declaratory

Relief and issue a decree of a conclusive character, with the force and effect of a Final Judgment.
86. As a result of the wrongful acts of Defendants, and each of them, as alleged herein,

Plaintiff requests that this Court issue an Order and Ruling permanently enjoining Defendants, and

 

each of them, their successora, agents, representatives, employees and all persons who acted alone,
or in concert with said Defendants, and each of them, ti'orn committing acts and conduct of

harassment, discrimination, retaliation, or other similar acts including, but not limited to, the

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violations alleged in all of the relevant Causes of Action herein, and as proved antlfor shown at the

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time of the ruling(s) and or verdict(s), and as prohibited by the Fair Employment and Housing lltctl

Calif_'or_"nia Gg` vemment Code §§12900 - 12996, and any other applicable laws, cases, codes,

12 regulations and statutes.

13 87. As a result of the wrongful conduct of Defendants, and each of them, as alleged

14 herein, Plaintiff is entitled to reasonable attomeys’ fees and costs of said suit as specifically

15 pr'o.v`idéd in Califortu'a ng§mrnent ggde § 12965(b) and as specifically mentioned in Harri.r v.
16 Cr't§y ofSanta Monr‘ea, (2013) 56 C.4tl't 203.

17 WHEREFORE, Plaintiff LAKIMYA JOHNSON, prays for judgment against the
18 Defendanw, and each of them, as follows:

19 1. For general damages in an amount within the jurisdictional limits of this

20 Court;

21 2. For medical expenses and related items of expense, according to proof;

22 3. For loss of earnings, according to proof;

23 ll 4. For loss of earning capacity, according to proof;

24 5. For reasonable attomeys’ fees and costs of said suit as specifically provided

in California Govemmggt Code §12965 (b), according to proof;

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26 6 For reasonable attomeys’ fees and costs of said suit as specifically provided
27 l in California Code gf givil Procedure §1021.5, according to proof;
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PLAIN'I`IFF’S COMPLAINT FOR DAMAGES

 

 

 

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l 7. For a permanent injunction against Defendants, and each of them, their
2 suecessors, agents, representatives, employees and all persons who acted
3 alone, or in concert with said Defendants, and each of them, from
4 committing acts and conduct of harassment, discrimination, retaliation, or
5 other similar acts including, but not limited to, the violations alleged in all of
6 the relevant Causes of Action herein, and as proved and/or shown at the time
7 of the ruling(s) and or verdict(s), and as prohibited by the Fair Employment
§ and Housing Act, Califomia §_o_yglim_ent_§_qnle §§12900 - 12996, and any
9 other applicable laws, cases, codes, regulations and statutes;
10 8 For reasonable attomeys’ fees and costs of said suit as specifically provided
l 1 in California G_ov_eggilent_gg_@ § 12965(b) and as specifically mentioned in
12 Harrr's v. Cr'ty of Santa Mom‘ca, (2013) 56 C.4th 203;
- 13 9 For prejudgment interest according to proof;
14 10. For punitive and exemplary damages, according to proof;
15 l 11. For costs of suit incurred herein; and
16 12. For such other and further relief as the court may deem just and proper.
17
18 Dat.ed: May 1, 2018 MANCINI & ASSOCMTBS
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LAKIMYA JOHNSON

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PLA]N'I`IFF’S COMPLAI`NT FOR DAMAGES

 

 

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EXHIBIT ` “A ”

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COMPLA|NT OF EMPLOYMENT Dl$CRlMlNAT|ON
BEFORE THE STATE OF CAL|FORN|A

DEPARTMENT OF FA|R EMPLOYMENT AND HOUS\NG

Under the Calitornia Fair Employment and Housing Aet
(Gov. Code. § 12900 et seq.)

|n the Matter of the Complaint of DFEH No. 839379-288554
LAK|MYA JOHNSON. Complainant.

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VS.

Agent For Service GATE GOURMET, lNC.,
Respondent.

6701 W. lmperial Highway

Los Angeles. Califomia 90045

Complainant alleges:

. 1. Respondent GATE GOURMET, lNC. is a Private Employer subject to suit under

the Ca|ifomia Fair Ernployment and Housing Act (FEHA) (Gov. Code, § 129th et
seq,), Complainant believes respondent is subject to the FEHA.

2. On or around September 29. 2016, complainant alleges that respondent took the
following adverse actions against complainant Discrimlnation. Harassment,

 

Retaliation Aslted impermissible non-job-related questionsl Denied a good
faith interactive process, Denied a work environment free of discrimination
andlor retaliationl Denied employment, Denied equal pay, Denied lamin care
or medical leave. Denied or forced to transfer, Denied reasonable
accommodation, Denied reinstatement, 'l‘enninated. Other, harassed
discriminated against retaliated against Complainant believes respondent
commined these actions because ol their: Aneestry, Color, Disability,
Engagement in Protected Activity, Family Care or Medical Leave. Race .

3. Complainant LAK|MVA JOHNSON resides in the City of , State of . lt complaint
includes co-respondents please see below.

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Additiona| Complaint Details:

From 912016, and continuing at least through 9129!16, and continuing. l was harassed.
discriminated against and retaliated against based on my perceived andlor race
(Alrican-American) and my perceived andfor physical disability(s) (right ankle injuries,
associated conditions, others).

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1 VER|F|CAT|ON
2 |. Marcus A Mancini, am the Attorney for Complainant in the above-entitled
complaint | have read the foregoing complaint and know the contents thereof. The
3 same is true of my own knowledge, except as to those matters which are therein
alleged on information and belief, and as to those matters. l believe it to be true.
4
l On May 02, 2017, l declare under penalty of perjury under the laws of the State of
5 Ca|ifornia that the foregoing is true and correct
6 Sherman Oaks CA
7 Marcus A Maneini
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EXHIBIT “B` ”

 

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May 02, 2017
LAK|MYA JOi-lNSON

RE: Notice of Case C|osure and Right to Sue
DFEi-l Matter Number: 839379-288554
Right to Sue: JOHNSON IAgent For Service GATE GOURMET, lNC.

Dear LAK|M¥A JOHNSON,

This letter informs you that the above-referenced complaint was filed with the
Depanment of Fair Emp|oyment and Housing (DFEH) has been closed effectlve May
02, 2017 because an immediate Right to Sue notice was requested. DFEH will take no
further action on the complaint

This letter is also your Right to Sue notice. According to Govemment Code section
12965, subdivision (b), a civil action may be brought under the provisions of the Fair
Employment and Housing Act against the person. employer. labor organization or
employment agency named in the above-referenced complaint The civil action must be
filed within one year from the date of this letter.

To obtain a federal Right to Sue notice, you must visit the U.S. Equal Employment
Opportunity Ccmmission (EEOC) to life a complaint within 30 days of receipt of this
DFEH Notice of Case C|osure or within 300 days of the alleged discriminatory act.
whichever is earlier.

Sincere|y.

Departrnent of Fair Employment and Housing

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Marl:us A. Manl:ini SBN: 146905
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15303 Vent:tlra Boulevard, Suit:e 600, SHERMAN OAKS, CA 91403
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CASENAME: JOHNSON v. GATE GOURMET

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o Plaintiff must file this cover sheet with the iirst paper filed in the action or proceeding ie)lcept small claims cases or cases illed
under the Probate Code. Fami|y Code. or We|lare end institutions Code). [Ca|. Huioe of Coutt, rule 3.220.) Faliure to file may result
in sanctionsl

° Fiie this cover sheet in addition to any cover sheet required by local court ruie.

¢ li this case is complex under nr|e 3.400 et seq. oi the Cal|lomia Fiuies cl Coult. you must serve a copy of this cover sheet on all
other parties to the action or proceeding

¢ Unless this is a collections case under rule 3.140 or a complex case, this cover sheet will be used for statistical purposes cnlx.

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By Fax

Case 2:18-cV-05281-VAP-AFl\/l Document 1-1 Filed 06/14/18 Page 31 of 35 Page lD #:40

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MRTT|Ti-EI LAKIMYA JOHNSON VS. GATE GOURHET, et al., i'5‘\55"\1"#5|?|‘

 

 

 

 

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This form is required pursuant to Locai Ruie 2.3 in all new civil case filings fn the Los Anqeles Superior Court.

 

 

 

Step 11 After completing the Civil Case Cover Sheet (iudicial Councii form CNl-Dlti), find the exact case type |n
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

Step 21 ln Co|umn B, check the box for the type of action that best describes the nature of the case.

' Step 3: in Colt.imn C, circle the number which explains the reason for the court filing location you have
chosen.

 

Appiicable Reasorts for Choosing Court Fl|ing location [Co|umn C}

 

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LASC ApprovedO3-04 AND STATEMENT OF LOCATION Page 1 of4

Case 2:18-cV-05281-VAP-AFI\/| Document 1-1 Filed 06/14/18 Page 32 of 35 Page |D #:41

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2:18-cV-05281-VAP-AFI\/| Document 1-1 Filed 06/14/18 Page 33 of 35 Page |D #:42

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SNW`"“-E LAKIM`!A JDHNSDN vS. GATE GDURHET, et al., nmu-mm

 

 

 

Sfep 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
type of action that you have seiected. Enter the address which ls the basis for the filing ior:atlon, including zip code.
(No address required for class action cases}.

 

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Loa Angeles CA 90045
Sfep 52 Certification of Assignment: l certify that this case is properly filed in the Cl-:NTRAL Distrlct ol

the Superior Court of Cal|fornia, Gounty of Los Angeles [Code Civ. Proc., §392 et seq., and Lolai Ru|e 2.3[3}|1)(£)].

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PLEA$E HAVE THE FOLLOW|NG lTEMS COMFLETED AND READY 'I'O BE FlLED iN ORDER T0 PROPERLY

COMM ENCE YOUR NEW COURT CASE:

1. Original Complaint or Pelitlon.

2. if filing a Complainl. a completed Summons form for issuance by the C|erk.
3. Civil Caae Cover Sheet, Judiciel Council form CM-010.
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. Civil Cese Cover Sheet Addendum and Stalament of Location fonn, LAC|V 109, LASC Approved 03-04 (Rev.

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Payrnent ln full ol the ming fee. unless there is court olderlorwaiver. partialorscheduied payments

6. A signed older appointing the Guardlen ad Litem. Judlcial Council form div-01 0, lfthe plaintiff or petitioner ls a
minor under 15 years of age will be required by Court in order to issue a summons.

7. Add|tionai copies oi' documents to be coniormad by the Clerk. Copies of the cover sheet end this addendum
must be served along with_the summons and compiaint. or other initiating pleading ln the case.

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LAC|V 105 (Rev 2ll B)
LASC Approved 03-04

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Case 2:18-cV-O5281-VAP-AFl\/| Document 1-1 Filed 06/14/18 Page 35 of 35 Page |D #:44

 

By FaX

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NOTICE| You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the lntcrrnallon
belew.

You have 30 CALENDAR DA¥S alter this summons and legal papers are served on you to fits a written response al this court and have e copy
served on the plelrrilil. A letter or phone call will not protect you. t'eur written response must be in proper legal lorrn lt you want the court to hear your
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Superior Court of California, Courit:y of Loe Angelee
111 North Hill Street

Los Angeles, California 90012

The name, addressl and telephone number of plaint|lt's attorney, or plaintiff without an attorney, is:
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Marcus A. Mancini, Esq. MANCINI & ASSOCIATES

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